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                                       STATEMENT IN
                                 SUPPORT OF PROBABLE CAUSE

IN RE: Sergio Antonio BUSTOS-Cruz


I, Michael Riha, declare and state as follows:

   1. On April 21, 2022, Sergio Antonio BUSTOS-Cruz entered the United States at the World Trade
   Bridge in Laredo, Texas, while operating a commercial tractor-trailer. At the primary inspection
   area, BUSTOS-Cruz provided a U.S. Customs and Border Protection (CBP) officer an electronic
   manifest. The CBP officer noted the shipment had an unknown destination and unknown ultimate
   consignee. The CBP officer referred BUSTOS-Cruz for secondary inspection.

   2. At secondary inspection, CBP officers conducted a non-intrusive x-ray scan of the tractor-trailer
   and discovered anomalies within the roof of the tractor cab. A CBP service canine inspection of
   the tractor cab resulted in a positive alert. CBP officers inspected the cab of the tractor and
   discovered several concealed bundles containing a white powdery substance which field tested
   positive for the properties of cocaine. The discovery resulted in a net gross weight of 11.62
   kilograms.

   3. During a post-Miranda interview with Homeland Security Investigations (HSI) Special Agents
   (SAs), BUSTOS-Cruz stated he entered an agreement with unknown individuals in Mexico to
   transport drugs into the United States. BUSTOS-Cruz stated he was provided the drugs in Mexico
   and was directed to later drop off the packages with unknown individuals in Laredo, Texas.
   BUSTOS-Cruz stated he was to be paid after the transaction was complete and upon his return to
   Mexico.

   4. HSI SAs arrested BUSTOS-Cruz for violations of Title 21 United States Code 952 and 963.

   I declare (certify, verify, or state) under penalty of perjury that the forgoing is true and correct.
Executed on the 22nd day of April 2022.


                                                      ___________________________
                                                       Michael Riha
                                                       Special Agent
                                                       Homeland Security Investigations



   Having reviewed the foregoing declaration, I find probable cause that the defendant(s) named
above committed an offense against the laws of the United States and may therefore be further
detained pending presentment before a judicial officer.
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Executed on the _____ day of _______________, 2022.




                                            ____________________________________
                                            Christopher dos Santos
                                            UNITED STATES MAGISTRATE JUDGE
